Case:22-01676-ESL11 Doc#:67-3 Filed:08/04/22 Entered:08/04/22 12:55:49                    Desc:
                    Proposed Order Exhibit C Page 1 of 1
                          UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF PUERTO RICO                                   Exhibit C

  IN RE:
                                                     CASE NO. 22-01676
  ESJ TOWERS, INC. d/b/a
  MARE ST. CLAIR HOTEL                               CHAPTER 11

         Debtor



                                  ORDER TO SHOW CAUSE


         The Court has considered Debtor’s emergency motion for an order to show cause
  directed to Expedia, Inc., for Expedia, Inc. to show cause for its violation of 11 U.S.C. §
  362(a)(1) and (6) by suspending Debtor’s hotel sales through Expedia, Inc.’s sales portal, due
  to Debtor’s pre-petition debt thereto, and good cause appearing therefor, it is hereby ordered
  that Expedia, Inc. shall appear before this Court on August ___, 2022, at _______, to show
  cause as to why it should not be found in contempt of Court for such violation, directed to
  restore Debtor’s hotel sales through its portal, and as to why sanctions, damages and attorney’s
  fees should not be imposed thereon. The hearing shall be held by Microsoft Teams.


         Service of Debtor’s motion and of this order shall be effected personally on Mr.
  Marcelo Góes and to his e-mail of expediacollections@expedia.com.


         All parties that wish to appear at the hearing must familiarize themselves and follow the
  Procedures for Remote Appearance, found in the language of our website at
  https://www.prp.uscourts.gov/


         IT IS SO ORDERED


         San Juan, Puerto Rico, this ___day of August 2022

                                                                 ________________________
                                                                     Enrique S. Lamoutte
                                                                United States Bankruptcy Judge
